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                                    No. 23-4509
       ___________________________________________________________ ______

                        IN THE UNITED STATES COURT OF APPEALS
                               FOR THE FOURTH CIRCUIT
                                  ____________________

       UNITED STATES OF AMERICA ........................................... Plaintiff-Appellee,

                                                Versus

       RUSSELL LUCIUS LAFFITTE .......................................... Defendant-Appellant.
                           ____________________

         SUPPLEMENT TO APPELLEE’S MOTION FOR EXTENSION OF TIME
               TO FILE RESPONSE TO APPELLANT’S MOTION FOR
                       BAIL/RELEASE PENDING APPEAL
                             ____________________

             On August 14, 2023, Appellate Russell Lucius Laffitte filed a Motion for

       Bail/Release Pending Appeal. ECF No. 12. On August 15, the Court ordered the

       Government to respond to the motion by Tuesday, August 22. ECF No. 15. On August

       17, the Government requested a three-day extension of time in which to file a its

       response because the Government needed to rely on the sentencing transcript to

       prepare its response, and the transcript was not received until that afternoon. ECF No.

       16. On August 18, Laffitte was notified that he must report to the Bureau of Prisons

       by September 14. See ECF No. 17. Laffitte informed the Court that he consented to

       the Government’s motion for a three-day extension because the Government had

       consented to a one-week extension of Laffitte’s report date. Id. at 2.
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             On August 21, Laffitte filed a consent motion to extend his report date in the

       district court. Consent Motion for Extension of Reporting Date, United States v.

       Laffitte, No. 9:22-cr-658-RMG, ECF No. 324. The district court has granted the

       motion and extended Laffitte’s report date to September 21. Id., ECF No. 325.

             For the foregoing reasons, and those cited in the Government’s motion for an

       extension, ECF No. 16, the Government respectfully requests that this Honorable Court

       grant a three-day extension of time, up to and including Friday, August 25, 2023, to

       file its response to Laffitte’s motion.

                                                 Respectfully submitted,

                                                 ADAIR F. BOROUGHS
                                                 UNITED STATES ATTORNEY

                                                 By: /s/Emily Evans Limehouse
                                                 Emily Evans Limehouse
                                                 Assistant United States Attorney
                                                 151 Meeting Street, Suite 200
                                                 Charleston, SC 29401
                                                 Tel. (843) 727-4381
                                                 Email: Emily.Limehouse@usdoj.gov

       August 21, 2023




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